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 7

 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA
10   PARKRIDGE LIMITED, a Hong Kong                  CASE NO. 16-CV-07387-JSW
     Corporation, by Mabel Mak and MABEL
11   MAK, an individual,                             INDYZEN, INC.’S TRIAL BRIEF
12                                                   Final Pretrial Conference: February 7, 2022
                         Plaintiffs,
13
            v.                                       Trial Date: February 28, 2022
14                                                   Time: 9:00 a.m.
     INDYZEN, INC., a California Corporation,        Dept.: Courtroom 5, 2nd Floor
15   and PRAVEEN NARRA KUMAR, an                     Judge: Hon. Jeffrey S. White
16   individual
                         Defendants.
17

18   INDYZEN, INC., a California Corporation,
19                       Counter-Claimant,
20
            v.
21
     PARKRIDGE LIMITED, a Hong Kong
22   Corporation and RANDY GENE
     DOBSON, an individual,
23
                        Counter-Defendants.
24

25          Pursuant to the Guidelines for Trial and Final Pretrial Conference in Civil Bench Cases

26   Before the Honorable Jeffrey S. White, Indyzen, Inc. hereby presents its Trial Brief.

27          This case arises from a failed business software venture. The facts are well developed, and

28   multiple issues have been fully adjudicated in Arbitration.

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     INDYZEN, INC.’S TRIAL BRIEF
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 1             On August 19, 2019, Arbitrator, Gary L. Benton, signed and issued a Final Award (“Final

 2   Award”) awarding Counter-Claimant Indyzen, Inc. (“Indyzen”) declaratory judgment as well as

 3   $678,825.00 in attorneys’ fees and costs, assessed jointly and severally against Parkridge and

 4   Mabel Mak. 1 “The Award does not address payments due to Indyzen as that issue is expressly

 5   excluded by the arbitration clause” (Id. at 5 ¶ 20) “Nevertheless, Indyzen remains free to pursue

 6   recovery of amounts due under the contract in court.” (Id. at 48 FN 25) On March 2, 2020, by

 7   Order of this Court, the Final Award was Confirmed and an additional $26,268.00 in attorney’s

 8   fees were awarded. (Dkt. Nos. 98 and 134)

 9             The findings in the Award effectively resolved liability, i.e. that Indyzen performed and
10   that Parkridge breached the contract, and the only triable issues are the damages to be awarded to

11   Indyzen. Some of the key findings, with citation to the Award, are set forth below.

12             “The Morfit Agreement was signed in late 2015 months after the project was underway

13   and some of the work had already been completed and delivered.” (Id. at 4 ¶ 15) “The venture

14   worked well at the start and Indyzen received compliments for its work. But Parkridge failed to

15   make timely payments for the work...” (Id. ¶ 16) “…Parkridge effectively terminated the

16   engagement in early 2016.” (Id. at 5 ¶ 16)

17             “IT IS DECLARED, as to all parties that:

18
                      (1)     The Software Development Agreement and License
19                            Agreement dated January 5, 2015 (“the Morfit Agreement”)
                              entered into by Parkridge Limited (“Parkridge”) and
20                            Indyzen, Inc. (“Indyzen”) was a valid and binding
                              agreement, and payment, licensing and other terms survive
21                            any termination;

22                    (2)     Parkridge breached the Morfit Agreement by failing to make
                              payments due, repudiating the Agreement and claiming
23                            ownership of the Morfit App;

24   ///
25   ///
26   ///
27

28             1
                      The Final Award is at Dkt. No. 86-2, Gillette Decl, Exhibit A.
                                                      -2-
     INDYZEN, INC.’S TRIAL BRIEF
       Case 4:16-cv-07387-JSW Document 212 Filed 01/24/22 Page 3 of 4


                    (3)    Indyzen has performed under the Morfit Agreement (and
 1                         otherwise been excused from further performance by
                           Parkridge’s2 breach for failure to make payments due);
 2
                    (4)    Indyzen is the owner of all Phase II and III builds of the
 3                         Morfit App (development beginning May 16, 2015); and,
 4                  (5)    No intellectual property rights have been transferred to
                           Parkridge or any other entity as to any phase of the Morfit
 5                         App development under the terms of the Morfit Agreement.”
 6   (Id. at 96)
 7           Indyzen’s damages, exclusive of interest, costs, attorney’s fees, the amounts awarded
 8   already which have not been paid, and the like, are three-fold: (1) $490,000 for unpaid invoices
 9   (Count I); (2) $550,000 per the promissory note signed by Parkridge’s CEO Randy Dobson
10   (“Dobson”) on behalf of Parkridge (Count II); and (3) $360,000 for additional amounts owed by
11   Parkridge (Counts IV and V). The first two categories are straightforward and supported by the
12   respective invoices and promissory note. The third category warrants a brief discussion for the
13   Court’s benefit.
14           The arrangement between Parkridge and Indyzen is that half of Indyzen’s billings would
15   be invoiced and the other half would be added to a promissory note. For many months, Indyzen
16   invoiced $100,000 per month and an additional $100,000 was tacked on to the promissory note.
17   Then, in late 2015, the parties discussed and agreed an accommodation to Parkridge such that
18   Indyzen would only invoice $80,000 per month with $120,000 being added to the promissory
19   note each month. The discussion was confirmed in emails and Parkridge’s counsel prepared draft
20   documents reflecting same. Dobson never objected but never signed the document. Instead, he
21   allowed Indyzen to bill $80,000 for the next 3 months. The $490,000 invoice amount in Count I
22   includes the 3 months of invoices at $80,000 per month. The $550,000 promissory note amount
23   in Count II does not include any amount for those three months. The principal amount of
24   $360,000 is therefore sought reflecting the three months at $120,000 per month.
25

26
             2
                     The Disposition of Applications for Modification of Award in the AAA
27   arbitration proceedings AAA ICDR Case No. 01-17-0003-4918, signed and issued by Arbitrator,
     Gary L. Benton on October 8, 2019, struck the word “Indyzen’s” and incorporated in its place
28   “Parkridge’s” to correct the clerical error in (3). (Dkt. No. 86-3, Gillette Decl, Exhibit B at 3)
                                                    -3-
     INDYZEN, INC.’S TRIAL BRIEF
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 1          Indyzen respectfully requests this court grant the amounts owed under the Morfit

 2   Agreement, its attorneys’ fees, costs of suit herein, and requests further requests the court grant

 3   Indyzen such other relief as it deems just and proper.

 4

 5   Date: January 24, 2021                        STRUCTURE LAW GROUP, LLP

 6

 7                                                 By:     /s/ Mark. R. Figueiredo
                                                         Mark R. Figueiredo, Esq.
 8                                                       Attorney for INDYZEN, INC.
 9                                                       and PRAVEEN NARRA KUMAR

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     INDYZEN, INC.’S TRIAL BRIEF
